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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

                                   6
                                         ANTI POLICE-TERROR PROJECT, et al.,
                                   7                                                      Case No. 20-cv-03866-JCS
                                                        Plaintiffs,
                                   8
                                                  v.                                      ORDER GRANTING MOTION FOR
                                   9                                                      TEMPORARY RESTRAINING ORDER
                                         CITY OF OAKLAND, et al.,                         AND ORDER TO SHOW CAUSE
                                  10                                                      (CORRECTED)
                                                        Defendants.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13         This matter came before the Court on June 18, 2020 at 1 p.m., on Plaintiffs’

                                  14   Application for a Temporary Restraining Order and Order to Show Cause. The parties

                                  15   stipulated to a Temporary Restraining Order, which was entered by the Court. See

                                  16   Docket No. 33. This Order corrects minor drafting errors found on page 2, lines 16-19 of
                                       the stipulated Temporary Restraining Order; it makes no substantive changes to Docket
                                  17
                                       No. 33.
                                  18
                                             Based upon the agreement of the parties and good cause appearing, IT IS HEREBY
                                  19
                                       ORDERED, pending further hearing and the Court’s Order, that defendants City of
                                  20
                                       Oakland, Police Chief Susan Manheimer, et al., and all persons acting on their behalf and
                                  21
                                       under their supervision are forbidden from:
                                  22
                                             1.        Using tear gas or any other chemical weapons against persons taking part in
                                  23
                                                       a protest or demonstration.
                                  24
                                             2.        Firing rubber bullets or similar projectiles at persons taking part in a
                                  25
                                                       protest or demonstration.
                                  26         3.        Firing flash bang grenades at persons taking part in a protest or
                                  27                   demonstration.
                                  28
                                          Case 3:20-cv-03866-JCS Document 34 Filed 06/18/20 Page 2 of 2




                                   1          The prohibitions of paragraphs 1 and 3 do not apply where, upon the decision of

                                   2   the OPD Operations Commander or Incident Commander, it is determined that the use of

                                   3   tear gas or any other chemical weapon or flash bang grenades is reasonably necessary to

                                   4   protect the lives of people, protect people from serious bodily injury, or prevent the
                                       imminent destruction of property at Oakland City Hall, the OPD Administration
                                   5
                                       Building, or the OPD Eastmont Mall Substation. Flash bang grenades may not be fired
                                   6
                                       directly at persons but must be fired only in a safe direction. To the fullest extent possible,
                                   7
                                       such use of tear gas or other chemical weapons and flash bang grenades is allowed only
                                   8
                                       after an audible warning of their use has been issued and after sufficient time to comply
                                   9
                                       has been granted.
                                  10
                                              In all actions in which the Oakland Police Department calls in police personnel
                                  11
                                       from other jurisdictions under mutual aid agreements, to the fullest extent possible OPD
                                  12
                                       personnel shall endeavor to assume front line positions between mutual aid officers and
Northern District of California
 United States District Court




                                  13
                                       demonstrators.
                                  14          This Order shall remain in effect until further Order of the Court. This matter shall
                                  15   be heard by the Court on July 2, 2020, on Plaintiffs’ motion for a preliminary injunction.
                                  16          IT IS SO ORDERED.
                                  17

                                  18   Dated: June 18, 2020
                                  19                                                ______________________________________
                                  20                                                JOSEPH C. SPERO
                                                                                    Chief Magistrate Judge
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